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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12   George Jones,                            Case No.: 2:20-cv-07342-GW-SK
13               Plaintiff,                   Hon. George H. Wu
14         v.                                 [PROPOSED] ORDER FOR DISMISSAL
                                              WITH PREJUDICE
15   Hanmi Bank, a California Company;
     and Does 1-10,
16                                            Action Filed: August 14, 2020
                                Defendants.   Trial Date: Not on Calendar
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                      [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
